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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 CORTNÉ MAREESE ROBINSON,                       §
                                                §
                                                         CAUSE NO. 1:17-cv-00011-RWS
                Petitioner,                     §
                                                §
 v.                                             §        CASE INVOLVING THE DEATH
                                                §        PENALTY
 BOBBY LUMPKIN, Director, Texas                 §
 Department of Criminal Justice, Correctional   §
 Institutions Division,                         §
                                                §
                Respondent.                     §


                                           ORDER

       Pending before the Court is Petitioner’s Unopposed Motion for Extension of Time to File
  .
Amended Petition (Docket No. 85). On November 24, 2020, this Court issued a briefing

schedule ordering Petitioner to file an amended petition for writ of habeas corpus on or

before March 6, 2021. Petitioner requests an extension of thirty days, or to Monday, April 5,

2021, for good cause shown. Respondent does not oppose the motion. The motion (Docket No.

85) for an extension of time is GRANTED.

       It is ORDERED that Petitioner file an amended petition for writ of habeas corpus on or

before Monday, April 5, 2021.

      SIGNED this 22nd day of February, 2021.



                                                      ____________________________________
                                                      ROBERT W. SCHROEDER III
                                                      UNITED STATES DISTRICT JUDGE
